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Attorneys for Defendants Centurion of Idaho, LLC and Centurion Health

                      IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO

 JANE ROE, JANE POE, JANE DOE,

               Plaintiffs,
 v.

 RAUL LABRADOR, in his official capacity
 as Attorney General of the State of Idaho;      Case No. 1:24-CV-00306-CWD
 BRAD LITTLE, in his official capacity as
 Governor of the State of Idaho; JOSH
 TEWALT, in his official capacity as the         MOTION TO APPEAR REMOTELY FOR
 Director of the Idaho Department of             THE JULY 15, 2024 HEARING
 Corrections; BREE DERRICK, in her official
 capacity as the Deputy Director of IDOC;
 CENTURION OF IDAHO, LLC;
 CENTURION HEALTH,

                Defendants.


       COMES NOW Defendant Centurion of Idaho, LLC by and through its undersigned counsel

of record, and hereby requests that Michael J. Bentley be permitted to appear remotely via Webex



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at the July 15, 2024 hearing on Plaintiffs’ Motion for Temporary Restraining Order, Provisional

Class Certification and Preliminary Injunction in this matter set to be heard at 11:00 A.M. (MST)

before the Honorable David C. Nye.

       Mr. Bentley will be in Mississippi where he resides and practices law. The expedited nature

of the scheduling of the July 15, 2024 hearing makes travel by Mr. Bentley to Idaho impracticable.

As such, remote appearance by him is necessary. Local counsel, Christina M. Hesse with Duke

Evett, PLLC will appear in person at the hearing.

       Centurion anticipates its participation during the hearing to be minimal and it will rely on

its briefing previously submitted to the Court in accordance with this Court’s briefing schedule.

Nevertheless, Mr. Bentley and Ms. Hesse remain committed to participating in the hearing,

including by answering any questions posed by the Court during the hearing, and aver that they

can do so by Mr. Bentley appearing remotely and Ms. Hesse in person.

       DATED this 10th day of July 2024.

                                             DUKE EVETT, PLLC,

                                             By: /s/ Christina M. Hesse                 _____
                                                Christina M. Hesse – Of the Firm
                                                Attorney for Defendant Centurion of Idaho, LLC

                                             BRADLEY ARANT BOULT CUMMINGS LLP,

                                             By: /s/ Michael J. Bentley
                                                Michael J. Bentley (pro hac vice)
                                                Attorney for Defendant Centurion of Idaho, LLC




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                                CERTIFICATE OF SERVICE

       I certify that on this 10th day of July 2024, I electronically filed the foregoing document
with the U.S. District Court. Notice will automatically be electronically mailed to the following
individuals who are registered with the U.S. District Court CM/ECF System:
        Paul Carlos Southwick                          []     U.S. Mail, postage prepaid
        Emily Myrei Croston                            []     Hand-Delivered
        ACLU OF IDAHO FOUNDATION                       []     Overnight Mail
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        Boise, Idaho 83701                                    psouthwick@acluidaho.org
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       Chase B. Strangio*                              []     U.S. Mail, postage prepaid
       Malita Picasso*                                 []     Hand-Delivered
       AMERICAN CIVIL LIBERTIES                        []     Overnight Mail
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       Attorneys for Plaintiffs (*motion for pro
       hac vice forthcoming)

        Raul Labrador                                []      U.S. Mail, postage prepaid
        James E. M. Craig                            []      Hand-Delivered
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        Labrador, Brad Little, Josh Tewalt, and
        Bree Derrick

                                                   /s/ Christina M. Hesse                  ____
                                                   Christina M. Hesse




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